 Case 20-03060-sgj Doc 61 Filed 12/12/21                 Entered 12/12/21 20:00:57           Page 1 of 5



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Counsel for Highland Capital Management, L.P.
                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                             §
In re:
                                                             §   Chapter 11
                                                             §
ACIS CAPITAL MANAGEMENT, L.P., ACIS CAPITAL
                                                             §   Case No. 18-30264-sgj11
MANAGEMENT GP, LLC
                                                             §   Case No. 18-30265-sgj11
                                                             §
                                 Debtors.
                                                             §   (Jointly Administered Under Case No. 18-
                                                             §   30264-sgj11)
                                                             §
ACIS CAPITAL MANAGEMENT, L.P., ACIS CAPITAL
                                                             §
MANAGEMENT GP, LLC, Reorganized Debtors
                                                             §
                                                             §
                                 Plaintiff,
                                                             §   Adversary Proceeding No. 20-03060-sgj
                                                             §
vs.
                                                             §
                                                             §
JAMES DONDERO, FRANK WATERHOUSE, SCOTT
                                                             §
ELLINGTON, HUNTER COVITZ, ISAAC LEVENTON,
                                                             §
JEAN PAUL SEVILLA, THOMAS SURGENT, GRANT
                                                             §
SCOTT, HEATHER BESTWICK, WILLIAM SCOTT, AND
                                                             §
CLO HOLDCO, LTD.,
                                                             §
                                                             §
                                 Defendants.
                                                             §
                                                             §
and
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.
                                                             §
                                                             §
                                Proposed Intervenor
                                                             §
                                Defendant.
                                                             §

HIGHLAND CAPITAL MANAGEMENT, L.P.’S, JOINDER TO ACIS’ WITHDRAWAL OF ITS MOTION
              TO AMEND ORDER AND REQUEST FOR ATTORNEYS’ FEES
    Case 20-03060-sgj Doc 61 Filed 12/12/21                  Entered 12/12/21 20:00:57               Page 2 of 5




         Highland Capital Management, L.P. (“HCMLP”) respectfully submits this joinder (the

“Joinder”) to Acis’ Withdrawal of Its Motion to Amend Order and Request for Attorneys’ Fees

[Docket No. 60] (the “Withdrawal”) 1 and in support thereof, states as follows:

                                                    JOINDER

         1.       On November 24, 2021, Acis filed Acis’ Motion to Amend Order and Request for

Attorneys’ Fees [Docket No. 57] (the “Acis Motion”) purportedly seeking to re-assert previously

released claims against Scott Ellington and Isaac Leventon.                      Whether Acis’s actions were

intentional or not, filing the Acis Motion violated the settlement agreement between HCMLP and

Acis that this Court approved in October 2020 (the “Settlement Agreement and Release”) 2 and, in

doing so, created a risk of litigation between HCMLP and Mr. Ellington and Mr. Leventon

regarding their potential (but HCMLP believes baseless) indemnification claims against HCMLP

and its affiliates. 3

         2.       Regrettably, instead of simply withdrawing the Acis Motion, Acis attempts to

justify its conduct. While HCMLP disputes Acis’s allegations concerning Mr. Seery and the

conversations between him and Joshua Terry, there is no dispute that, before filing the Acis

Motion, Acis never (i) sought or obtained HCMLP’s written consent to waive or modify the

Settlement Agreement and Release, as required (Settlement Agreement § 9); (ii) provided a copy of

the Acis Motion to HCMLP or otherwise described the purported basis for vitiating the releases;

(iii) conferred with HCMLP’s counsel; (iv) informed HCMLP that Acis intended to re-open (or




1
  All capitalized terms used but not defined herein have the meanings given to them in the Withdrawal.
2
  True and accurate copies of the Settlement Agreement and Release are attached hereto as Exhibits 1 and 2,
respectively.
3
  The threat of a lawsuit is not just theoretical. Promptly after the Acis Motion was filed, Mr. Leventon, on behalf of
himself and Mr. Ellington, demanded indemnification from Highland CLO Funding, Ltd., a Guernsey-based
investment vehicle managed by a subsidiary of HCMLP.


DOCS_NY:44689.4 36029/001
 Case 20-03060-sgj Doc 61 Filed 12/12/21            Entered 12/12/21 20:00:57      Page 3 of 5




leave open) the Acis Bankruptcy Case; or (v) otherwise sought HCMLP’s consent to declare the

releases granted to Mr. Ellington and Mr. Leventon under the Settlement Agreement null and void.

       3.      While the language of the Withdrawal is disappointing, HCMLP is grateful to avoid

being dragged into more pointless and value-destructive litigation.

       4.      HCMLP reserves all rights that it may have, including the right to seek “reasonable

and necessary attorneys’ fees and costs” (Settlement Agreement § 13, Release, § 5(f)) arising from

Acis’s violation of the Settlement Agreement and Release.

       5.      For the foregoing reasons, HCMLP respectfully requests that this Court grant the

Withdrawal.

                            [Remainder of Page Intentionally Blank]




                                                3
DOCS_NY:44689.4 36029/001
 Case 20-03060-sgj Doc 61 Filed 12/12/21       Entered 12/12/21 20:00:57   Page 4 of 5




 Dated: December 12, 2021          PACHULSKI STANG ZIEHL & JONES LLP

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                                   -and-

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                                           4
DOCS_NY:44689.4 36029/001
 Case 20-03060-sgj Doc 61 Filed 12/12/21            Entered 12/12/21 20:00:57       Page 5 of 5




                                CERTIFICATE OF SERVICE

        This is to certify that, on December 12, 2021, a true and correct copy of the foregoing
Joinder was served electronically via the Court’s ECF system on those parties registered to receive
electronic notice.

                                                               /s/ Zachery Z. Annable
                                                                 Zachery Z. Annable




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DOCS_NY:44689.4 36029/001
